                                Case 19-25851-CLC                   Doc 90           Filed 09/23/22           Page 1 of 7
Fill in this information to identify the case:

Debtor 1                Sonia Vales
Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:        Southern District of Florida
                                                                                     (State)
Case number              19-25851-AJC




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                      12/15/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                            U.S. Bank Trust National Association, not in its
                            individual capacity but solely as trustee for LB-Igloo
Name of creditor:           Series IV Trust                                             Court claim no. (if known):           5
                                                                                        Date of Payment Change:
Last 4 digits of any number you use to                                                  Must be at least 21 days after date
identify the debtor's account:         XXXXXX0400                                       of this notice                              11/01/2022



                                                                                          New total payment:
                                                                                          Principal, interest, and escrow, if any           $ 266.97

Part 1:               Escrow Account Payment Adjustment


1     Will there be a change in the debtor's escrow account payment?
               No

               Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
               the basis for the change. If a statement is not attached, explain why:


               Current escrow payment: $          13.43                                   New escrow payment: $ 38.69


Part 2:               Mortgage Payment Adjustment


2     Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
               No

               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
               explain why:



               Current interest rate:                          %              New interest rate:                                    %

               Current principal and interest payment: $                                 New principal and interest payment:            $


Part 3:               Other Payment Change


3     Will there be a change in the debtor's mortgage payment for a reason not listed above?
               No

               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                    (Court approval may be required before the payment change can take effect.)




Official Form 410S1                                       Notice of Mortgage Payment Change                                                              page 1
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Debtor 1                   Sonia Vales                                                                   Case number (if known) 19-25851-AJC
                           First Name             Middle Name               Last Name

                   Reason for change:


                   Current mortgage payment:           $                                      New mortgage payment: $



Part 4:         Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.
Check the appropriate box.
           I am the creditor.

           I am the creditor's authorized agent.



I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.


X   /s/ Matthew Klein                                                                                    Date    9/23/2022
    Signature



Print:              Matthew                                     Klein                                    Title   Attorney for Secured Creditor
                    First Name           Middle Name            Last Name

Company             Howard Law Group


Address             4755                 Technology Way, Suite 104
                    Number               Street

                    Boca Raton                                            FL                  33431
                    City                                                State               ZIP Code

Contact Phone       954-893-7874                                                                         Email   matthew@howardlaw.com




I HEREBY CERTIFY that on September 23, 2022, I electronically filed the foregoing with the Clerk of Court
by using the CM/ECF System, which will send a notice of electronic filing to all CM/ECF participants:

Mandy L Mills, Esq., 4343 W. Flagler Street, Ste. 100, Miami, FL 33134
Nancy K. Neidich, POB 279806, Miramar, FL 33027
Office of the US Trustee, 51 S.W. 1st Ave., Suite 1204, Miami, FL 33130

And a copy was mailed via US Mail to:
Sonia Vales, 20275 NE 2nd Avenue #9, Miami, FL 33179




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